918 F.2d 173Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Robert E. CARROLL, Plaintiff-Appellant,v.Raymond M. MUNCY, Defendant-Appellee.
    No. 90-6630.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 5, 1990.Decided Nov. 14, 1990.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.  David G. Lowe, United States Magistrate.  (CA-89-42-R)
      Robert E. Carroll, appellant pro se.
      Robert Harkness Herring, Jr., Assistant Attorney General, Richmond, Va., for appellee.
      E.D.Va.
      AFFIRMED.
      Before K.K. HALL, CHAPMAN and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Robert E. Carroll appeals from the magistrate's order denying relief under 42 U.S.C. Sec. 1983.  Jurisdiction was vested in the magistrate pursuant to 28 U.S.C. Sec. 636(c)(3).  Our review of the record and the magistrate's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the magistrate.  Carroll v. Muncy, CA-89-42-R (E.D.Va. Aug. 3, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    